803 F.2d 713Unpublished Disposition
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Calvin L. Fetter, Plaintiff-Appellantv.United States of America, Defendant-Appellee.
    No. 86-6622.
    United States Court of Appeals, Fourth Circuit.
    Submitted July 17, 1986.Decided OCt. 7, 1986.
    
      Before RUSSELL, WIDENER and ERVIN, Circuit Judges.
      (Calvin L. Fetter, Appellant Pro Se.)
      PER CURIAM.
    
    
      1
      A review of the record and the district court's opinion discloses that an appeal from its order refusing habeas corpus relief pursuant to 28 U.S.C. Sec.  2254 would be without merit.  Because the dispositive issues recently have been decided authoritatively, we deny a certificate of probable cause to appeal, dispense with oral argument, and dismiss the appeal on the reasoning of the district court.  Fetter v. United States, C/A No. Y-85-4066 (D. Md., Apr. 30, 1986).
    
    
      2
      DISMISSED.
    
    